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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 9:18-CV-80186-ROSENBERG/REINHART

  RICHARD MAROUS,

                  Plaintiff,

  v.

  JOBMATCH, LLC
  D/B/A APPLICANTPRO,

          Defendant.
  __________________/
                               JOINT NOTICE OF SETTLEMENT

          Pursuant to Local Rule 16.4 and the Court’s Order dated March 14, 2018 [D.E. 7],

  Plaintiff Richard Marous (“Marous”) and Defendant JobMatch, LLC d/b/a ApplicantPro

  (“ApplicantPro”), by and through their undersigned counsel, hereby notify the Court that they

  have reached a resolution as to all claims and disputes between them, and move this Court to stay

  proceedings and deadlines so that they may finalize the terms of the settlement reached between

  them. Plaintiff Marous intends to file a Notice of Dismissal within 14 days.

          WHEREFORE, Plaintiff Marous and Defendant ApplicantPro request that the Court

  accept this Notice of Settlement reached by them. Marous and ApplicantPro also request the

  Court to stay the proceedings and deadlines so that they may finalize the terms of the settlement

  reached.




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  Dated: March 26, 2018.

  Respectfully submitted,

  s/Andrew J. Shamis                               s/Martha R. Mora
  Andrew J. Shamis, Esq.                           Martha R. Mora, Esq.
  Florida Bar No. 101754                           Florida Bar No. 648205
  ashamis@sflinjuryattorneys.com                   mmora@arhmf.com
  Shamis & Gentile, P.A.                           AVILA RODRIGUEZ HERNANDEZ
  14 N.E. 1st Ave, Suite 400                       MENA & FERRI LLP
  Miami, FL 33132                                  2525 Ponce de Leon Boulevard, Suite 1225
  Telephone: (305) 479-2299                        Coral Gables, Florida 33134
  Facsimile: (786) 623-0915                        Telephone: (305) 779-3560
                                                   Facsimile: (305) 779-3561
  Counsel for Plaintiff Richard Marous
                                                   Counsel for Defendant JobMatch, LLC d/b/a
                                                   ApplicantPro



                                  CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing was served by CM/ECF on

  March 26, 2018, on all counsel or parties of record on the Service List below.


                                                s/Martha R. Mora
                                                 Martha R. Mora, Esq.




                                          SERVICE LIST


  Andrew J. Shamis, Esq.
  Florida Bar No. 101754
  Shamis & Gentile, P.A.
  14 NE 1st Avenue, Suite 400
  Miami, Florida 33131
  Telephone: (305) 479-2299
  Facsimile: (786) 623-0915
  ashamis@sflinjuryattorneys.com
  Counsel for Plaintiff



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